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                                        No. 11-1259

                           UNITED STATES OF AMERICA
                             FOR THE FIRST CIRCUIT

                                  UNITED STATES,

                                         Appellee

                                            v.

                             ANTONIO ORTIZ-APONTE

                                 Defendant- Appellant


                                 ___________________


            ON APPEAL FROM A JUDGMENT OF THE UNITED STATES
             DISTRICT COURT FOR THE DISTRICT OF PUERTO RICO


                                APPELLANTS’ BRIEF




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      Argument

              1- Ortiz-Aponte’s guilty plea should be set aside because it         13-20
       was not entered voluntarily, knowingly or intelligently. Where plea
       agreement informed that Ortiz Aponte faced a mandatory penalty of
       60 months for the 18 U.S.C. 924(c)(1)(A) violation but failed to
       advise that said time period was a mandatory minimum without
       informing him of maximum potential penalty nor was such an error
       corrected during the change of plea hearing nor was he ever advised
       that he could receive a consecutive sentence for any other unexpired
       sentence Rule 11 core violations occurred that render guilty plea null
       and void.
               Errors cannot be considered harmless in light of ten year
       sentence imposed by Judge for the firearms count and consecutive
       federal sentence to the unexpired local conviction.

              2- District Court Judge committed procedural error when he           20-27
       determined that local firearms conviction was not related to federal
       indictment which led to an incorrect guideline computation. He also
       erred in taking into consideration to determine the sentence imposed
       incorrect-unrelated facts all of which led to imposition of an
       “unreasonable” sentence.
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            Procedural error also occurred during sentence hearing when
     Judge failed to inquire with Ortiz-Aponte if his attorney had reviewed
     with him the pre-sentence report as required by Fed. R. Cr. P.
     32(i)(1)(A) and in failing to state why he was imposing a ten year
     sentence in the firearms count.

            3- Prosecutor violated terms of plea agreement when she stated       27-32
     it included a consecutive federal sentence to the local ten year
     sentence which increased penalty the parties had agreed to recommend
     of 130 months that justifies setting aside guilty plea.

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                      STATEMENT REGARDING RECORD CITATION


            References to the Addendum, transcript, and other parts of the record below

      will be as follows:

            “Add” refers to the Addendum, followed by the page number (e.g. Add. 20)

                “Tr” refers to portions of the trial transcript. If they are not followed by an

                     App. or Add. they have not been included in the Appendix nor the

                     Addendum (e.g. Tr. 10/16. pg. 75)

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                                          No. 11-1259

                             UNITED STATES OF AMERICA
                               FOR THE FIRST CIRCUIT

                                     UNITED STATES,

                                           Appellee

                                              v.

                               ANTONIO ORTIZ-APONTE

                                   Defendant – Appellant
                                   ___________________

                                   APPELLANT’S BRIEF

            HEREIN appears appellant Antonio Ortiz Aponte through his undersigned

      counsel and most respectfully submits his Brief to this Hon. Court:

                                      JURISDICTION

            The Court has jurisdiction over appeals from final orders of the District

      Court under Title 28, United States Code, Section 1291. In the instant case, the

      District Court’s judgment is a final order subject to appeal under 28 USC sec.

      1291. Rule 4(b)(I) of the Federal Rules of Appellate Procedure, requires that a

      notice of appeal in a criminal case be filed in the District Court within fourteen

      (14) days after the entry of judgment or order appealed. In this case appellant’s

      sentence was entered on 2/14/11. (Docket entry #1187-Add. 27) A timely notice

      of appeal was filed on 2/14/11. (Docket Entry #1224, Add. 86)
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                              STATEMENT OF THE CASE

            Appellant Antonio Ortiz-Aponte was indicted with 109 other defendants for

      having engaged in a conspiracy to possess with intent to distribute in excess of 1

      kilogram of heroin, 50 grams of crack, 5 kilograms of cocaine, 100 kilograms of

      marihuana, oxycodone and Xanax from the year 2005 until the return of the

      indictment on July 14, 2010, in the Municipality of Bayamon, in the District of

      P.R., elsewhere, and within 1,000 ft. of a public housing facility authority at

      Virgilio Davila Public Housing Project, Las Gardenias housing Project, Brisas de

      Bayamon Housing Project, Falin Torrench Housing project, and other areas within

      the Municipality of Bayamon, P.R. in violation of 21 U.S.C. 846, 841(a)(1) and

      860(count one);and for aiding and abetting in the carriage and use of firearms

      during and in relation to a drug trafficking crime during the same time period and

      places in violation of 18 U.S.C. 924 (c)(1)(A) and 2.(count two). He was allegedly

      an enforcer of the drug organization and on occasions acted as a d rug processor.

      (Add. 1-26)

            The case was assigned to District Court Judge J.A. Fuste.

            Appellant was represented by court appointed counsel Javier Cuyar-Olivo.

            Ortiz-Aponte negotiated a plea agreement w hereby he pled guilty to both

      counts of the indictment and if his criminal history category was I, the parties

      would recommend a t erm of 70 months incarceration as to count one and a
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       consecutive term of 60 months on the firearms count two, for a total term of 130

       months incarceration. (Add. 36)

             Two pre-sentence reports were prepared (filed separately under seal)that

       concluded that a firearms conviction of defendant in the local courts was related to

       the offenses charged in the indictment leaving his criminal history at I, and a

       guideline calculation that matched the one found in the plea agreement. No

       objections were filed to the PSR by any of the parties.

             At the sentence hearing (Add. 67-85) Hon. Judge Fuste sua ponte without

       providing advance notice to the parties rejected the un-objected finding of

       relatedness of the local conviction, established a cr iminal history category of II,

       and sentenced Ortiz-Aponte to 97 months in the drug conspiracy count, 120

       months in the firearms count to be served consecutively with each other for a total

       of 217 months to be served consecutively with the undischarged 10 year state

       conviction. (Add. 28, 82)

             Ortiz-Aponte filed a pro-se notice of appeal complaining of ineffective

       assistance of counsel, not knowing the consequences of his acceptance of guilt and

       that the Judge breached all of the terms of his plea agreement based on “ill

       conceived and without the proper facts.” (Add. 86)
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                                  STATEMENT OF FACTS

             As appears from the plea agreement “the parties will recommend a sentence

       of 70 months imprisonment as to count One and a sentence of 60 months of

       imprisonment as to count Two, to be served consecutively. The total combined

       sentence recommended by the parties would be a term of imprisonment of 130

       months of imprisonment, assuming a CHC I. If the defendant is a CHC II or higher

       the parties will recommend the lower end of the applicable guideline range.”

       (Add. 36) The plea agreement fails to mention what treatment would be given to

       other convictions for sentencing purposes. It did stipulate that “The United States

       and the defendant agree that no further adjustments or departures to the

       defendant’s base offense level shall be sought by the parties.”(Add. 37)

             As to the penalty that Ortiz-Aponte was facing in the 924(c)(1) firearms

       charged in count Two, the plea agreement informed “The defendant understands

       that in relation to COUNT TWO a consecutive term of imprisonment of sixty(60)

       months is mandatory.(Add. 34) It failed to specify any maximum term of

       imprisonment or any range of incarceration in excess of 60 months.

             At the change of plea hearing the only admonitions provided by District

       Court Judge Fuste concerning the penalty Ortiz-Aponte faced in count two were:

                   “THE COURT: And of course you know, because it says here,
             that the sentence regarding the gun count is consecutive to the
             sentence imposed in the drug count. In other words, gun counts are
             consecutive to drug counts. Do you understand that?
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                   THE DEFENDANT: Yes.
                   THE COURT: And it mentions here 60 months mandatory
             consecutive. Do you understand that?
                   THE DEFENDANT: Yes.
                   THE COURT: Okay.             You are proposing a guideline
             calculation here. Because of the stipulation you entered with the
             Government, you start with a base offense level of 28. Two points are
             added because of the location where the facts took place. Because you
             accepted your involvement and if you clearly demonstrate that at the
             end of the day, I could give up to three points for acceptance of
             criminal responsibility. And then your adjusted base offense level
             should be in the neighborhood of a 27.
                   And assuming no criminal history, your Guideline
             Imprisonment Range should be 70 to 87 months with the
             understanding that there is of course a 60-month statutory mandatory
             minimum, plus the 60-month consecutive sentence for the gun. Do
             you understand that?
                   THE DEFENDANT: Yes.” (Add. 60, C.O.P. Hearing)


             It is clear that Ortiz-Aponte was never informed during the change of

       plea hearing nor in the plea agreement the maximum penalty he was exposed

       to as to Count Two.

             When the case was called for sentencing Judge Fuste never inquired with

       Ortiz-Aponte if his court appointed counsel had reviewed with him the pre-

       sentence report:

                   “MR. CUYAR: Good morning, Your Honor. Javier Cuyar-
             Olivo on behalf of Antonio Ortiz-Aponte. We are ready to proceed.
                   THE COURT: Give me one second.
                   Well, let me ask you this: Have you engaged in settlement
             negotiations, in plea negotiations?
                   COURTROOM DEPUTY: This is a sentencing.
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                    THE COURT: A sentencing. One minute. Sorry. Let me look at
             something here. Yes, I have it right here. Absolutely. Let me take a
             look at something. Give me a minute.
                    Okay. I see from the record now that there are no objections to
             the report, correct?
                    MR. CUYAR: That’s correct, Your Honor.” (Add. 69- Sent. H)

             A waiver of appeal clause was included in the plea that stated; “The

       defendant hereby agrees that if this Honorable Court accepts this agreement and

       sentences defendant according to its terms, conditions and recommendations, the

       defendant waives and surrenders the right to appeal the judgment and sentence in

       this case.” (Add. 39)

             The two unobjected pre-sentence reports filed followed the same guideline

       computation of the plea agreement establishing a t otal offense level of 27, a

       criminal history category of I, with a guideline imprisonment Range of 70-87

       months as to the drug conspiracy charged in count one and a consecutive sentence

       of not less than 60 months in count two. (PSR, parr. 62-68, pg. 21; parr. 88, pg. 26)

             As to his criminal convictions the pre-sentence report reflected that Ortiz-

       Aponte was arrested in Camuy, P.R. on April 20, 2006, and charged with illegal

       possession of several firearms. On December 14, 2010 he pled guilty in the

       Superior Court of Arecibo and was sentenced to a total of 10 years incarceration.

       (Pg. 22, parr. 70, PSR dated 1/19/11, docket 1039, filed under seal) The pre-

       sentence report expressly stated “The defendant has one(1) prior conviction,

       which did not yield criminal history points as it was considered relevant
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       conduct.” (pg. 22, par. 71, PSR filed on 1/19/11) The government never objected

       to said finding by the probation officer.

                During the sentence hearing District Court Judge Fuste on his own brought

       up the issue as to whether he should treat said conviction as relevant conduct in

       this case since the arrest did not occur in Bayamon. (Tr. Sent. H.-Add. 70) Ortiz-

       Aponte’s court appointed counsel argued that the incident was clearly related since

       it occurred during the time period of the conspiracy where he was indicted as an

       enforcer and the government had included the arrest and firearms seized as part of

       the evidence it was going to present at trial to establish his guilt. Although the

       arrest occurred outside of the Municipality of Bayamon, the prosecutor that sought

       the arrest warrants was the District Attorney’s Office of Bayamon. Merely because

       the arrest occurred outside of Bayamon did not render the event as unrelated to the

       conspiracy charged since the possession of the firearms in the year 2006 had to do

       with his being an enforcer of the organization. (Tr. Sent. H.-Add. 71-74) The

       prosecutor admitted that “it is correct that that evidence was to be used in this

       case in order to prove the fact that he had weapons for the organization.”(Tr.

       Sent. H.-Add. 73)

             Judge Fuste rejected treating the incident as related based on numerous facts

       that had nothing to do with Ortiz-Aponte’s conduct:
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                    “THE COURT: Let me tell you what’s in my mind, because it is
            always good, we are told, Judges are instructed that honesty in
            sentencing is extremely important. And these days where you have so
            much unacceptable violence on this island – now last year we had
            almost one thousand murders committed by individuals who basically
            have weapons in violation of the law.
                    This month alone, January and February we are almost
            duplicating the same, the murder rate for the months of January of
            February of the year 2010. At that rate we’re going, we’re going to
            surpass one thousand murders this year.
                    I am sitting here to sentence an individual who had a conviction
            in Arecibo for possession of a revolver with mutilated serial number.
            You know that that means. Stolen.
                    MR. CUYAR: Yes, Your Honor.
                    THE COURT: Smith and Wesson, nine millimeter pistol with
            mutilated serial number, carbon pistol, caliber 5.5; a Glock 40
            millimeter pistol; 1,452 bullets of caliber 5.54 –56; 254 bullets of
            caliber .40; 16 bullets of caliber .45, even though he had not .45
            firearms; 77 bullets of nine millimeters; plus some drugs. Let’s forget
            about drugs for the time being.
                    And you’re telling me that he pled guilty, and that’s fine, but I
            have to be convinced inside my own mind that this is related to the
            conspiracy that was going in this case in Bayamon, because if it
            wasn’t, I don’t think I should accept it just like that, as if it was – I
            need to know. I have to – so we have to discuss it.
                    MR. CUYAR: Well, that’s the information, what we are stating,
            Your Honor, that it was in 2006, part of the conspiracy, but further,
            that it was provided in Jencks material. And that when we verified the
            Jenks material, it was requested by the Bayamon District Attorney’s
            Office.
                    THE COURT: It doesn’t mean much. I need a clear statement
            here on this record that for sure this stashing of firearms in Arecibo
            had – was related to the Bayamon conspiracy, because if it’s a
            different crime, it’s not relevant conduct; and I’m not letting guns by
            – I am not going to let guns go by easily, no way, because everybody
            sitting in this courtroom today can be a victim of this kind of
            individual, while even having an espresso coffee innocently
            somewhere. That’s the way it goes. So I need to know.” (Add. Sent.
            H.-Add. 73-75)
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                 It is clear that the sentencing Judge was retaliating against Ortiz-Aponte

       based on facts that were not part of his offense conduct such as the near one

       thousand murders that had occurred, that “in this month alone, January and

       February we are almost duplicating the same, the murder rate1 for the months of

       January and February of the year 2010.” 2 He even made reference to “everybody

       sitting in this courtroom today can be a victim of this kind of individual, while even

       having an espresso coffee innocently somewhere.” 3

                 The prosecutor jumped on the bandwagon and proceeded to inject into the

       plea agreement matters that are not mentioned nor included in the plea to justify

       imposing a consecutive federal sentence to the local ten year sentence:

                        “MS. HERNANDEZ: Your Honor, there is another matter we
                 also brought forward to defense counsel, and it’s the fact when the
                 prosecutor entered into the agreement, he made sure that it indicated
                 that it were to run consecutive as to any other sentence, because he
                 was aware that he had pled guilty in this case. Nonetheless, that is
                 the wording that he used in the sentence, that it be consecutive.”
                 (Sent. H.- Add. 78)

                 As appears from the plea agreement there is nothing that substantiates the

       allegation made by the prosecutor. In fact the plea is quite clear that “The United

       States and the defendant acknowledge that the above stated terms and conditions

       1
           Ortiz-Aponte was not charged with any murders.
       2
        Ortiz-Aponte was incarcerated during this time period. Said facts had nothing to do with his offense
       conduct.
       3
           Ortiz-Aponte’s offense conduct did not include any drive by shootings of innocent persons.
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       constitute the entire plea agreement between the parties and deny the existence of

       any other terms and conditions not stated herein.” (Add. 39) The plea agreement

       does not contemplate anywhere the existence of a prior conviction nor the

       treatment that should be given to one.

             District Court Judge Fuste proceeded to find that the local conviction was

       not related, added three criminal history points establishing a criminal history

       category of II, and in total violation of the plea agreement sentenced Ortiz-Aponte

       to 97 months, the higher end of the guideline in the drug conspiracy count, and

       instead of five years he imposed a ten year consecutive term on the firearms count

       both to be served consecutively to the ten year unexpired local conviction. (Add.

       28, 82)

             Instead of the 130 month total incarceration term recommended in the plea

       agreement Ortiz Aponte was sentenced to a t otal of 217 months for the federal

       offenses consecutive to the local ten year sentence for a total of 337 months

       incarceration.

             The present appeal followed.

                                  STATEMENT OF ISSUES

             1- Ortiz-Aponte’s guilty plea should be set aside because it was not entered

       voluntarily, knowingly or intelligently. Where plea agreement informed that Ortiz

       Aponte faced a mandatory penalty of 60 months for the 18 U.S.C. 924(c)(1)(A)
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       violation but failed to advise that said time period was a mandatory minimum

       without informing him of maximum potential penalty nor was such an error

       corrected during the change of plea hearing nor was he ever advised that he could

       receive a co nsecutive sentence for any other unexpired sentence Rule 11 core

       violations occurred that render guilty plea null and void.

                Errors cannot be considered harmless in light of ten year sentence imposed

       by Judge for the firearms count and consecutive federal sentence to the unexpired

       local conviction.

             2- District Court Judge committed procedural error when he determined that

       local firearms conviction was not related to federal indictment which led to an

       incorrect guideline computation. He also erred in taking into consideration to

       determine the sentence imposed incorrect-unrelated facts all of which led to

       imposition of an “unreasonable” sentence.

             Procedural error also occurred during sentence hearing when Judge failed to

       inquire with Ortiz-Aponte if his attorney had reviewed with him the pre-sentence

       report as required by Fed. R. Cr. P. 32(i)(1)(A) and in failing to state why he was

       imposing a ten year sentence in the firearms count.

             3- Prosecutor violated terms of plea agreement when she stated it included a

       consecutive federal sentence to the local ten year sentence which increased penalty
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       the parties had agreed to recommend of 130 months that justifies setting aside

       guilty plea.

             4- Waiver of appeal clause cannot be enforced in this case.

                                  SUMMARY OF ARGUMENT

             I-       Where appellant was misinformed in written plea agreement and in

       change of plea hearing that he was to be sentenced to a mandatory fixed

       consecutive term of 60 months for 18 U.S.C. 924(c)(1)(A) violation and never

       advised of the maximum penalty he faced nor was he informed of possible

       consecutive sentence if convicted for local offenses pending at time hearing was

       held Rule 11 core violations occurred that render plea involuntary nor entered

       knowingly or intelligently. Failure to properly inform Ortiz-Aponte of the possible

       consequences of his guilty plea mandates setting aside plea. Error cannot be

       considered harmless in light of ten year sentence imposed on the 924(c)(1)(A)

       count and consecutive federal sentence to local conviction for firearms.

             II-      District Court’s multiple procedural errors in determining applicable

       guideline by treating related case as unrelated, taking into consideration improper

       facts in determining sentence to be imposed, failing to explain why it imposed 10

       year sentence of incarceration in firearms count and failing to inquire if

       presentence report had been reviewed with appellant at sentence hearing require
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       remand for re-sentencing before a different Judge. Resulting sentence was

       procedurally and substantively unreasonable and should be set aside.

             III-   Where prosecutor incorrectly informed during sentence hearing that

       plea agreement called for imposition of a consecutive federal sentence to local

       conviction prosecutor violated terms of plea agreement which did not contemplate

       such a sentence which exceeded the 130 months the parties had agreed to

       recommend entitling Ortiz-Aponte to withdraw his guilty plea.

             IV-    Waiver of appeal clause cannot be enforced where District Court

       committed Rule 11 core violations, incorrectly computed the guidelines used to

       impose sentence, took into consideration improper facts in determining sentence

       and failed to follow sentence recommendations as stipulated in plea agreement and

       waiver of appeal.


                                        ARGUMENT

             I- Ortiz-Aponte’s guilty plea should be set aside because it was not
       entered voluntarily, knowingly or intelligently. Where plea agreement
       informed that Ortiz Aponte faced a mandatory penalty of 60 months for
       924(c)(1) violation but failed to advise that said time period was a mandatory
       minimum without informing him of maximum potential penalty nor was such
       an error corrected during the change of plea hearing nor was he ever advised
       that he could receive a consecutive sentence for any other unexpired sentence
       Rule 11 core violations occurred that render guilty plea null and void.
              Errors cannot be considered harmless in light of ten year sentence
       imposed by Judge for the firearms count and consecutive federal sentence to
       the unexpired local conviction.
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             Rule 11(b)(1)(H) states:

                    “Advising and Questioning the Defendant. Before the Court
             accepts a plea of guilty or nolo contendere, the defendant may be
             placed under oath, and the Court must address the defendant
             personally in open Court. During this address, the Court must inform
             the defendant of, and determine that the defendant understands, the
             following:
                    …….
                    (H) any maximum possible penalty, including imprisonment,
             fine, and term of supervised release;”

             18 U.S.C. 924(c)(1)(A)(i) states:

                    “Except to the extent that a greater minimum sentence is
             otherwise provided by this subsection or by any other provision of
             law, any person who, during and in relation to any crime of violence
             or drug trafficking crime (including a crime of violence or drug
             trafficking crime that provides for an enhanced punishment if
             committed by the use of a deadly or dangerous weapon or device) for
             which the person may be prosecuted in court of the United States,
             uses or carries a firearm, or who, in furtherance of any such crime,
             possesses a firearm, shall, in addition to the punishment provided for
             such crime of violence or drug trafficking crime –
                    (i)   Be sentenced to a term of imprisonment of not less than 5
             years.”

             As appears from the transcript of the change of plea hearing (Add. 44-66)

       the Court never informed Ortiz-Aponte of the maximum penalty he faced by

       pleading guilty to count two. The plea agreement did not provide that information

       either. The only penalty that was informed was that he faced “a consecutive term of

       imprisonment of 60 months.” (Add. 34) There is nothing in the record that

       establishes that when he pled guilty Ortiz-Aponte was informed as required by law
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       that he faced a sentencing range in count two that could reach life imprisonment.

       The impression created by the language of the plea agreement was that he faced a

       mandatory term of 60 months incarceration not more.

                In U.S. v. Castro-Gomez, 233 F.3d 684, 687 (1st Cir. 2000) this Court

       reiterated the Rule 11 “core concerns” that must be addressed by the District Court

       when it accepts a guilty plea:

                    “Rule 11(c) of the Federal Rules of Criminal Procedure
             governs a Court’s conduct when a defendant pleads guilty or nolo
             contendere. Specifically, the court must communicate to the
             defendant personally: “the nature of the charge to which the plea is
             offered, the mandatory minimum penalty provided by law, if any, and
             the maximum possible penalty provided by law. Fed.R.Crim.P.
             11(c)(1). This Court has identified three “core” concerns of Rule
             11(c). They are: (1) that the plea is voluntary; (2) that the defendant
             understands the charge to which he has pled guilty; and (3) that the
             defendant knows the consequences of his guilty plea. Marrero-Rivera,
             124 F.3d at 348 n.7. The complete failure of the District Court to
             address one or more of these three concerns would warrant
             reversal.” Id. at 348.

             In Castro-Gomez, supra, this Court set aside defendant’s guilty plea because

       the court failed to inform him of the mandatory minimum term of incarceration he

       faced when it held the change of plea hearing.

             As to the “core concern” related to “defendant’s knowledge of the

       consequences of the guilty plea” it is clear that there was a co mplete failure to

       inform Ortiz-Aponte of the maximum penalty he faced once the court accepted his

       guilty plea to count two nor was he informed of the “possible” consecutive
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       sentence he faced related to his state charges which were pending at that time.

       Such a co mplete violation under the circumstances of this case requires that the

       guilty plea be set aside. See also U.S. v. Gray, 63 F.3d 57, 60-61(1st Cir. 1995);

       U.S. v. Medina-Silverio, 30 F.3d 1,2-4(1st Cir. 1994)

             Numerous appellate courts have set aside guilty pleas due to the District

       Courts’ failure to inform defendant at the change of plea hearing the maximum

       penalty he faced as required by Rule 11. See U.S. v. Jaramillo-Suarez, 857 F.2d

       1368,1369-1473 (9th Cir. 1987); U.S. v. Gray, 581 F.3d 749,751-755 (8th Cir.

       2009); U.S. v. Siegel, 102 F.3d 477, 481-482 (11th Cir. 1996); U.S. v. Gigot, 147

       F.3d 1193,1199-1200 (10th Cir. 1998).

             As recognized by this Court in U.S. v. Allard, 926 F.2d 1237, 1243 (1st Cir.

       1991); “In reaching a plea bargain, a defendant assesses the likelihood of

       conviction and balances that against the relative severity of the sentence he

       expects to receive pursuant to the agreement and that which could be imposed

       upon conviction. In many cases, that process results in a compromise pursuant to

       which the defendant makes a conscious decision to relinquish a perceived defence.

       As long as that decision is not the product of coercion or misinformation, the

       defendant may not later renege on the agreement on the ground that he

       miscalculated or belatedly discovered a new defence.” The record in this case is
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       clear that Ortiz-Aponte was misinformed of the amount of incarceration term he

       faced

               Since Ortiz-Aponte is raising for the first time on direct appeal the District

       Court’s non-compliance with Rule 11 review is for plain error. U.S. v. Vonn, 535

       U.S. 55,59(2002); U.S. v. Borrero-Acevedo, 533 F.3d 11,13 (1st Cir. 2008) In

       order to satisfy the plain error standard appellant is required to show that (1) an

       error occurred; (2) the error was clear and obvious; (3) the error affected

       defendant’s substantial rights; (4) the error impaired the fairness, integrity, or

       public reputation of the judicial proceedings. U.S. v. Sebastian, 612 F.3d 47 (1st

       Cir. 2010); U.S. v. Olano, 507 U.S. 725, 736 (1993)

               The present case meets such a standard. There is no doubt that an important

       Rule 11 vi olation occurred; it was clear and obvious since Rule 11 specifically

       mandates the District Court to inform defendant of the maximum penalty and the

       potential consequences of his guilty plea; it affected defendant’s substantial rights

       since he was not fully informed of the consequences of his pleading guilty thereby

       compromising the voluntary and intelligent nature of the guilty plea; and the error

       impaired the fairness of judicial proceedings since the record is devoid of any

       indication that appellant when he pled guilty pursuant to a plea agreement that

       called for a sentence of 5 years was made aware that the Court could sentence him

       to up to life imprisonment. In view of the fact that the sentence imposed was
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       substantially higher than the recommended sentence and included those areas not

       informed the failure to comply with the mandate of Rule 11 cannot be dismissed as

       harmless nor does it warrant a finding that Ortiz-Aponte would have pled guilty

       had he been informed of all of the possible consequences of his guilty plea.

             Under the circumstances of this case Ortiz-Aponte satisfies the Supreme

       Court’s standard announced in U.S. v. Dominguez Benitez, 542 U.S. 74,83(2004)

       that “ a defendant who seeks reversal of his conviction after a guilty plea, on the

       ground that the District Court committed plain error under Rule 11, must show a

       reasonable probability that, but for the error, he would not have entered the plea.

       A defendant must thus satisfy the judgment of the reviewing court, informed by the

       entire record, that the probability of a different result is “sufficient to undermine

       confidence in the outcome” of the proceeding.”

             Nor can it reasonably be argued that Ortiz-Aponte was aware from other

       sources that he faced a maximum penalty of life imprisonment or a co nsecutive

       sentence to the state charges.

             Even though the pre-sentence report filed in excess of a month and a half

       after he pled guilty mentioned that he faced “a consecutive term of not less than

       five years”, it treated the local charges as related and did not even contemplate a

       consecutive sentence. A lso the Judge failed to inquire at sentencing if the pre-

       sentence report had been reviewed with him by counsel in gross violation of
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       Fed.R.Crim.P. 32(i)(1)(A), so there is no adequate record to conclude he was made

       aware of any information of the PSR prior to sentencing. In addition as was held in

       Jaramillo-Suarez, supra at pg. 1372, “the dictates of Rule 11 and the federal policy

       of fair and efficient judicial administration require that the reviewing court look

       solely to the record of the plea proceeding.”         The severity of the Rule 11

       violations in light of the sentence imposed warrant setting aside the guilty plea.

             As held by the Supreme Court in McCarthy v. U.S. 394 U .S. 459,

       464(1968) “Rule 11 expressly directs the District Court Judge to inquire whether a

       defendant who pleads guilty….is aware of the consequences of his plea.” One of

       the consequences of the guilty plea was the potential that he faced of a

       consecutive sentence on the pending local case. This was never addressed

       neither in the plea agreement nor in the change of plea hearing. See also U.S.

       v. Cotal-Crespo 47 F.3d 1,4(1st Cir. 1995) where this court held that Rule 11 was

       designed to ensure that defendants who enter guilty pleas do so with full

       understanding of “the consequences of [their] plea.” When Ortiz-Aponte pled

       guilty on November 10, 2010, to the federal charges he had already been indicted

       in the local courts for the firearms violations of 4/20/06. The court and the

       prosecution had the obligation to address the potential consequence of a

       consecutive sentence as part of the guilty plea process. The complete failure to do

       so in light of the ensuing consecutive sentence renders the plea null because it was
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       not entered knowingly nor intelligently with full awareness of the potential

       consequences of the guilty plea. U.S. v. Yazbeck, 524 F.2d 641,643(1st Cir. 1975)

              II. District Court Judge committed procedural error when he
       determined that local firearms conviction was not related to federal
       indictment which led to an incorrect guideline computation. He also erred in
       taking into consideration to determine the sentence imposed incorrect-
       unrelated facts all of which led to imposition of an “unreasonable” sentence.
              Procedural error also occurred during sentence hearing when Judge
       failed to inquire with Ortiz-Aponte if his attorney had reviewed with him the
       pre-sentence report as required by Fed. R. Cr. P. 32(i)(1)(A) and in failing to
       state reasons why he was imposing a ten year sentence in the firearm count.

             The conspiracy charged in count one alleged that the defendants from on “or

       about the year 2005, and continuing up to and until the return of the instant

       indictment (July 14, 2010), in the Municipality of Bayamon, in the district of

       Puerto Rico, elsewhere, and within the jurisdiction of this court” conspired to

       possess with intent to distribute narcotics. (Add. 8) “It was further part of the

       manner and means of the conspiracy that some of the co-conspirators would

       routinely possess, carry, brandish and use firearms to protect themselves and their

       drug trafficking organization.” (Add. 14) Ortiz-Aponte as an enforcer “did possess,

       carry, brandish, use and discharge firearms to protect the leaders and members of

       the drug trafficking organization, the narcotics, the proceeds derived from their

       sales, and to further accomplish the goals of the conspiracy.” (Add. 18) The aiding

       and abetting 18 U.S.C. 924(c)(1)(A)firearms count two was based on the
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       underlying conspiracy to possess with intent to distribute narcotics charged in

       count one.

             As appears from the pre-sentence report within the time period of the

       charged conspiracy Ortiz-Aponte was arrested on April 20, 2006, for illegal

       possession of 4 firearms, ammunition and cocaine. In the first PSR, the charging

       district appeared to be the Superior Court of Bayamon (PSR filed 1/03/11, docket

       946, pg. 21, par. 70) When said report was amended on 1/19/11(docket 1039), the

       charging district was changed to be the Arecibo Superior Court. (pg. 22, par. 70)

       On 12/10/10, Ortiz-Aponte pled guilty and was sentenced to 10 years incarceration

       in the local court.

             In both pre-sentence reports the probation officer stated “The defendant

       has one (1) prior conviction, which did not yield criminal history points as it was

       considered relevant conduct.” (Docket 1039- pg. 34, par. 71; docket 946- pg. 34,

       par. 71) The prosecutor never objected to said conclusion.

             At the sentence hearing the prosecutor admitted to the Court “that evidence

       was to be used in this case in order to prove the Fact that he had weapons for the

       organization.” (Add. 73)

             Ortiz-Aponte’s lawyer justified a finding that the local conviction was

       related to the federal charges because the arrest and seizure of the firearms was

       provided in the Jencks material by the government who was going to present them
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       in evidence as part of their case in chief 4; the seizure of the firearms occurred

       within the time period of the charged conspiracy and the 924(c)(1)(A) count two

       where Ortiz-Aponte was indicted as an enforcer; and although the case was filed in

       the Arecibo Superior Court the search warrant was requested by the District

       Attorney’s Office of Bayamon who was conducting the investigation. All of these

       combined factors warranted a finding of relatedness so that the possession of said

       firearms should be considered part of the offense conduct charged federally. (Add.

       71-72,74)

                 District Court Judge Fuste rejected all of said arguments merely because the

       firearms were seized outside of the Municipality of Bayamon. (Add. 70,72) He was

       moved to conclude that they were unrelated incidents in order to justify imposing

       a substantially higher term of imprisonment because of the “unacceptable violence

       on this island—now last year we had almost one thousand murders committed by

       individuals who basically have weapons in violation of the law. 5

                 This month alone, January and February we are almost duplicating the

       same, the murder rate for the months of January and February of the year 2010. At

       the rate we are going, were going to surpass one thousand murders this

       year.”(Add. 73) Additional facts he took into consideration were “ I am not going


       4
           The government never alleged the incident was to be treated as 404(b) evidence.
       5
           Ortiz-Aponte was not charged with the commission of murders.
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       to let guns go by easily, no way, because everybody sitting in this courtroom today

       can be a victim of this kind of individual, while even having an espresso coffee

       innocently somewhere. That’s the way it goes.” (Add. 74-75)

             Appellant submits that the District Court committed clear error when it

       rejected a finding of relatedness merely because the firearms had been seized in

       Camuy when everyone prior to the sentence hearing was in agreement that the

       incident was related. The arguments made by Ortiz-Aponte’s counsel justified a

       finding of relevant conduct that should have prevented the conviction as being

       treated as separate from the federal charges. His criminal history should have

       remained at I, instead of the II determined by the Judge who added three criminal

       history points erroneously.

             It is clear that Ortiz-Aponte timely objected to the District Court treating the

       local conviction as unrelated to the federal charges. Questions about whether the

       evidence is sufficient to support a particular guideline determination is a question

       of law that engenders de novo review. Fact bound challenges are reviewed for

       clear error. Where a defendant has preserved an issue on appeal, the appellate court

       reviews de novo. U.S. v. Gibbons, 553 F.3d 40,45-46 (1st Cir. 2009)

             Procedural error analysis includes “failing to calculate or improperly

       calculating) the guideline range… selecting a sentence based on clearly erroneous

       facts, or failing to adequately explain the chosen sentence.” Claims of procedural
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       unreasonableness in sentencing are reviewed, generally, for abuse of discretion.

       U.S. v. Davila-Gonzalez, 595 F.3d 42,47(1st Cir. 2010) The District Court clearly

       erred when it considered Ortiz-Aponte’s 2006 firearms conviction as a s eparate

       offense and determined his criminal history category as II. There was ample factual

       support for a finding of relatedness that overrode the fact that the seizure occurred

       outside of the Municipality of Bayamon. The indictment mentions “elsewhere” so

       it was not limited to said area. “The “same course of conduct” concept looks to

       whether the defendant repeats the same type of criminal activity over time.” U.S. v.

       Powell, 50 F.3d 94, 104 (1st Cir. 1995) His possession in the year 2006, within the

       time period of the charged federal conspiracy where he was arrested possessing 4

       firearms fits neatly with his purported participation as an enforcer in the conspiracy

       charged in count one. The prosecutors announced intent to present said firearms as

       part of its evidence during the case in chief and its failure to object the probation

       officers conclusion that the offense conduct was relevant conduct coupled with the

       fact that the local arrest was sought by the Bayamon District Attorneys’ office

       should have moved the court to accept said event as relevant conduct. Because the

       court erred in calculating the applicable guideline remand for re-sentencing is

       warranted.

             Had the District Court correctly treated the conviction as related it would

       have had to consider U.S.S.G, 1B1.3 (Relevant conduct) and U.S.S.G. 5G1.3(b)
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       which called for crediting time served in the local case to the federal conviction

       and for a concurrent sentence. Since the government was using the firearms seized

       in 2006 to prove the charge in Count Two and the conspiracy charged in Count

       One it cannot be doubted that it complied with the requirement that it “was the

       basis for an increase in the offense level”, in this case the imposition of a

       consecutive sentence for the 924(c)(1)(A) violation. 6

               In addition the Judge’s findings were motivated by the consideration of

       erroneous facts that had nothing to do with Ortiz-Aponte’s offense conduct which

       also warrants setting aside his findings and the sentence imposed which is

       unreasonable. The drive by shootings of innocent bystanders and the amount of

       murders committed in the island which included months that went beyond the time

       period of the indictment and for criminal acts that had nothing to do with Ortiz-

       Aponte’s offense conduct also warrant setting aside the sentence because the

       District Court committed procedural error when it relied on clearly erroneous facts

       in determining the applicable guideline and the sentence it imposed. See U.S. v.

       Santiago-Rivera, 594 F.3d 82,83-84 (1st Cir. 2010) (Court reviews de novo whether

       a factor considered by the District Court in sentencing a defendant is

       impermissible; a concern that a state will fail to adequately punish a defendant on

       6
        Had there been no firearms count charged said evidence would have caused a two level upward adjustment in
       the offense computation of count one for possession of firearms during the course of the drug conspiracy. U.S.S.G.
       2D1.1(b)(1).
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       an unrelated charge is an impermissible sentencing factor); U.S. v. Gonzalez-

       Castillo, 562 F.3d 80,83-84 (1st Cir. 2009) (selecting a s entence based on clearly

       erroneous facts is an abuse of discretion. “Basing a substantial criminal sentence

       on a non existent material fact threatens to compromise the fairness, integrity, or

       public reputation of the proceedings.”) The substantial 337 months sentence

       imposed on Ortiz-Aponte was motivated by facts wholly unrelated to his offense

       conduct and he was punished for murders that had nothing to do w ith his crime.

       Remand for re-sentencing before a different Judge is warranted.

             The Judge also committed procedural error when he failed to advance any

       reasons as to why he was imposing a t en year sentence for the 924(c)(1)(A)

       firearms count instead of the recommended 5 years which was duplicated by

       making the federal sentence consecutive to the 10 year firearms possession

       sentence imposed in the local courts. Such a draconian sentence is “unreasonable”

       and should be set aside by this court. Not only did the Judge improperly increase

       his criminal history from I to II, he used the increased criminal history to impose a

       higher end 97 months guideline sentence in count one; punished appellant with a

       10 year consecutive sentence in the firearms count two, which was duplicated

       when he failed to credit him any time for the undischarged local firearms

       possession sentence pursuant to section 5G1.3, imposing the federal sentence

       consecutive to the local sentence in violation of said section which called for a
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       concurrent sentence. The incorrect guideline calculation taints the sentencing

       process since it is the “starting point” or “initial benchmark”. Gall V. U.S. 128

       s.Ct. 586,596-597((2007); U.S. v. Martin 520 F.3d 87,91(1st Cir. 2008); U.S. v.

       Jimenez-Beltre 440 F3d 514(1st Cir. 2006)

             Aside from this, procedural error occurred when the District Court Judge

       failed to address Ortiz-Aponte as required by Fed.R. Cr. P. 32(I)(1)(A) and verify

       that the presentence report had been read and discussed with him. U.S. v. Nguyen,

       618 F.3d 72, 74 (1st Cir. 2010) There is nothing that establishes that such review

       took place. When combined with the other procedural errors committed remand for

       re-sentencing should be required before a different judge.

               III. Prosecutor violated terms of plea agreement when she stated it
       included a consecutive federal sentence to the local ten year sentence which
       increased penalty the parties had agreed to recommend of 130 months that
       justifies setting aside guilty plea.

             The parties agreed to recommend a “ total combined sentence ….of 130

       months of imprisonment, assuming a CHC I.” (Add. 36) No reference was made in

       the plea agreement to pending state charges nor was there ever any statement by

       the government that it would seek a consecutive sentence to any local conviction.

       (Add. 32-43)

             Notwithstanding the above the prosecutor incorrectly told the court during

       the sentence hearing that the plea contemplated a consecutive sentence to any state

       conviction:
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                    “MS. HERNANDEZ: Your Honor, there is another matter we
             also brought forward to defense counsel, and it’s the fact when the
             prosecutor entered into the agreement, he made sure that it indicated
             that it were to run consecutive as to any other sentence, because he
             was aware that he had pled guilty in this case. Nonetheless, that is
             the wording that he used in the sentence, that it be consecutive.
                    THE COURT: Right, has to be also consecutive, because it’s a
             different case.”(Add. 78)

             There is nothing in the wording of the plea that supports such a statement.

       On the contrary the plea states that

                   “ENTIRETY         OF       PLEA      AGREEMENTS           AND
             AMENDMENTS
                   21. The United States and the defendant acknowledge that the
             above-stated terms and conditions constitute the entire plea
             agreement between the parties and deny the existence of any other
             terms and conditions not stated herein. No additional promises, terms
             or conditions will be entered unless in writing and signed by all
             parties.”(Add. 39)

             It is the position of Ortiz-Aponte that the prosecutor violated the plea

       agreement when she incorrectly stated that the plea agreement called for a

       consecutive federal sentence to any other conviction.

             The parties not only “assumed” that Ortiz-Aponte criminal history Category

       would be I, when the pre-sentence reports were notified classifying Ortiz-Aponte’s

       local firearms conviction as relevant conduct of the federal charges the prosecutor

       never objected to such a conclusion and the computation made by the probation

       officer that matched that established in the plea agreement.
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             This was negated for the first time during the sentence hearing after the

       Judge expressed his intention to treat the local case as separate. The misstatement

       of the contents of the plea agreement co nstituted a request for a higher sentence

       than the parties had agreed to recommend and violated its terms.

             Pursuant to Santobello v. U.S., 404 U.S. 257, 262 (1971) Ortiz-Aponte can

       request the opportunity to withdraw the guilty plea.

             In U.S. v. Cardona-Diaz, 524 F.3d 20, 24 (1st Cir. 2008) this Court reiterated

       that “we have recognized that when parties agree that the government will

       recommend a certain sentence, they do so with the understanding that it is likely

       the District Court will accept the recommendation.” That principle was clearly

       violated by the government in this case when it requested that the Court impose a

       consecutive federal sentence to the local conviction.

             In U.S. v. Velez Carrero, 77 F.3d 11-12 (1st Cir. 1996), this Court

       determined that the government had breached the plea agreement when it informed

       the Court at sentencing that it would make no suggestion as to the role of defendant

       in the offense when it had bargained to oppose any adjustment. The government in

       the present case also breached the plea agreement when it failed to uphold

       recommended guideline agreed upon in the plea and actually argued in favour of

       imposing a consecutive federal sentence to the local conviction. If the government

       as it claimed at the sentence hearing was aware when it entered into the plea
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       agreement with Ortiz-Aponte of the local prosecution and that it had assumed the

       position that a conviction in said case would require a recommendation on their

       part of a consecutive sentence why wasn’t that included in the plea? If that is true,

       the government acted in bad faith when it negotiated the terms of the plea

       agreement and Ortiz-Aponte is entitled to have it set aside.

               As held by this court in U.S. v. Rivera-Rodriguez, 489 F.3d 48,57(1st Cir.
       2007)


                      “Because defendants must ultimately waive fundamental rights
               as a result of entering into any plea agreement, “we hold prosecutors
               engaging in plea bargaining to “the most meticulous standards of
               both promise and performance”.” Riggs, 287 F.3d at 224 [quoting
               U.S. v. Velez-Carrero, 77 F.3d 11, 11 (1st Cir. 1996)]. This
               requirement prohibits, therefore, “not only explicit repudiation of the
               government’s assurances, but must in the interests of fairness be read
               to forbid end-runs around them” U.S. v. Voccola, 600 F.Supp. 1534,
               1537 (D.R.I. 1985), quoted in U.S. v. Frazier, 340 F.3d 5,10 (1st Cir.
               2003); Saxena, 229 F.3d at 6; Canada, 960 F.2d at 269.”
               The government’s misrepresentations to the court at the sentence hearing

       concerning the plea agreement calling for a co nsecutive federal sentence to the

       local conviction is precisely the type of run around tactics this court prohibits and

       should move the court to set aside the pea agreement to discourage future

       violations of this sort by federal prosecutors.

                     “Ordinarily, whether the government has breached its plea
               agreement with a defendant is a question of law and our review is
               plenary. See U.S. v. Doe, 233 F.3d 642, 643-44 (1st Cir. 2000) [citing
               U.S. v. Clark, 55 F.3d 9,11 (1st Cir. 1995)]; U.S. v. Canada, 960 F.2d
               263,269 (1st Cir. 1992). Where as here, however, the “defendant has
               knowledge of conduct ostensibly amounting to a breach of a plea
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             agreement, yet does not bring that breach to the attention of the
             sentencing court, we review only for plain error.” U.S. v. Saxena,
             229 F.3d 1,5 (1st Cir. 2000). Thus, we consider whether: (1) there
             was error, (2) it was plain, (3) the error affected the defendnat’s
             substantial rights, and (4) the error adversely impacted the fairness,
             integrity, or public reputation of judicial proceedings. U.S, v. Olano,
             507 US 725,732,113 S.Ct. 1770, 123 L.Ed.2d 508 (1993); Saxena, 229
             F.3d at 5.” Rivera-Rodriguez, supra, at 59.

             Although it cannot be said that Ortiz-Aponte’s court appointed counsel

       raised the issue of breach of the plea agreement during the sentence hearing he did

       specifically argue that the plea contemplated treating the local case as relevant

       conduct of the federal charges. Merely because he did not take the extra step of

       accusing the government of breaching the terms of the agreement should not

       foreclose treating his arguments as sufficient to preserve the objection.

         In any event appellant submits that where a prosecutor breaches a plea

       agreement the appellate court should find that even under the plain error test such

       an action “affects substantial rights” that warrants granting relief since such an

       action undermines the fairness, integrity, or public reputation of judicial

       proceedings. U.S. v. Borrero Acevedo, 533 F.3d 11, 15 (1st Cir. 2008)

             That Ortiz-Aponte’s substantial rights were affected cannot be doubted since

       the consecutive ten year federal sentence with the local conviction clearly

       exceeded what he expected the government to recommend based on the language

       of the plea. The prosecutor’s request for a consecutive sentence was clear and plain

       error based on the terms and recommendations of the plea agreement.
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             The breach warrants setting aside the plea agreement and guilty plea.

             IV.   Waiver of appeal clause cannot be enforced in this case.

             The waiver of appeal clause states: “The defendant hereby agrees that if this

       Honorable Court accepts the Plea Agreement and sentences him according to its

       terms, condition and recommendations, the defendant waives and surrenders his

       right to appeal the judgment and sentence in this case.” (Add. 39)

             As held by this Court in U.S. v. Fernandez-Cabrera, 625 F.3d 48,51 (1st Cir.

       2010) where the waiver of appeal clause was exactly worded as in the present case:

                    “The government’s waiver argument need not detain us. A
             criminal defendant who waives his right to appeal relinquishes a
             substantial right. Consequently, a waiver-of-appeal provision in a
             plea agreement should be construed according to its tenor, and any
             ambiguities should be resolved in favour of allowing the appeal to
             proceed. See U.S. v. Acosta-Roman, 549 F.3d 1,3-4 (1st Cir. 2008);
             U.S. v. McCoy, 508 F.3d 74,77 (1st Cir. 2007); U.S. v. Teeter, 257
             F.3d 14,23-25 (1st Cir. 2001). In the case at hand, the language of
             waiver-of-appeal provision is pellucid; the waiver does not attach
             unless the District Court has “sentence(d) the defendant according to
             the sentencing recommendation contemplated (in the Agreement)”
                                                 .......
                    When the District Court chose not to follow the parties’ joint
             sentencing recommendations, the waiver-of-appeal provision, as
             framed, was relegated to the scrap heap. Consequently, the appeal
             may proceed.”


             Here, Judge Fuste totally ignored the sentencing recommendations:
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             a)     In the drug conspiracy count he rejected the recommendation that he

       be sentenced to the lower end of the applicable guideline range (Add. 36) and

       imposed a 97 months sentence which was the higher end.

             b)     He rejected the 5 year recommendation as to the firearms count two

       and imposed a ten year sentence. (Add. 36)

             Fernandez-Cabrera is dispositive that the waiver of appeal claim is

       unenforceable.

             In addition no reference is made in the plea agreement to either the state

       sentence or to U.S.S.G. 5G1.3(c), and the discretion of the court to impose a

       consecutive sentence. This omission takes the waiver of appeal clause outside of

       the scope of the appeal and is unenforceable. See U.S. v. Bowman, 634 F.3d

       357,360-361(6th Cir.2011)

             This Court has repeatedly entertained Rule 11 core violations which are

       raised for the first time on appeal refusing to recognize a waiver:

                    “This is so because the standards Rule 11 brings to the plea
             bargaining process “protect not only the parties, but also the
             ‘fairness, integrity [and] public reputation of judicial proceedings’.”
             U.S. v. Daniels, supra, 821 F.2nd at 81 (quoting U.S. v. Corbett, 742
             F.2nd 173, 178 n. 12 (5th Cir. 1984) [quoting U.S. v. Adams, 634 F.2nd
             830, 836 (5th Cir. 1981)]). In short, the basic wisdom is that “an
             Appellate Court must determine compliance with Rule 11, even if a
             claim of noncompliance was never presented to the trial Court.” See
             U.S. v. Van Buren, 804 F.2nd 888, 890 (6th Cir. 1986) [explaining U.S.
             v. Briscoe, 428 F.2nd 954, 957 (8th Cir.) cert. denied, 400 US 966, 91
             S.Ct. 378, 27 L.Ed.2nd 386 (1970)]; McCarthy v. U.S., 394 US 459,
             89 S.Ct. 1166, 22 L.Ed.2nd 418 (1969); U.S. v. Coronado, 554 F.2nd
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               166, 170-71 (5th Cir.) cert. denied, 434 US 870, 98 S.Ct. 214, 54
               L.Ed.2nd 149 (1977); U.S. v. Daniels, supra…” U.S. v. Parra-Ibañez,
               936 F.2nd 588, 593 (1st Cir. 1991)

               It follows that if there has been a Rule 11 core violation the appeal waiver

       clause will suffer the same fate of the plea, it will not be enforced by the appellate

       Court. Where at issue in an appeal is an attack on the legality of the plea because it

       was taken in violation of Rule 11 core concerns the government cannot enforce the

       waiver because the Rule 11 violation would annul the plea waiver clause. Thus, in

       the case of U.S. v. Portillo-Cano, 192 F.3rd 1246, 1250-1251 (9th Cir. 1999) the

       Court refused to enforce an appeal waiver because a violation of Rule 11 rendered

       the plea as a whole invalid. See also U.S. v. Whitlow, 287 F.3rd 638, 640 (7th Cir.

       2002) where the Court held that “a waiver of appeal stands or falls with the rest of

       the bargain.” See also U.S. v. Merced-Rodriguez, 2009 US App. Lexis 6338 (1st

       Cir.)

               Where the District Court’s inquiry into the appeal waiver is not sufficiently

       informed or is ambiguous as to its scope during the sentence hearing this Court

       will not enforce appeal waiver. See U.S. v. Teeter, 257 F.3rd 14, 27 (1st Cir. 2001).

       In Ortiz-Aponte’s sentencing hearing, District Court Judge Fuste did not even

       mention the waiver of appeal clause. (Add. 83-84)

               Finally, the draconian “unreasonable” sentence of 337 months imposed

       based on an incorrect guideline computation triggers the “miscarriage of justice”
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       exception to such clauses announced in U.S. v. Teeter, 257 F .3d 14.25 (1st Cir.

       2001)

                                         CONCLUSION

                For all of the above stated reasons the sentence and guilty plea of Ortiz-

       Aponte should be set aside.

               RESPECTFULLY SUBMITTED.

               I hereby certify that on this same date, I electronically filed the foregoing

       with the Clerk of the Court using the CM/ECF system and that copy of the above

       has been notified to all parties in the attached Service List through their

       correspondent method.

               San Juan, Puerto Rico, this 27th day of September, 2011.


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                                       Service Preference Report


         Case Number: 11-1259                                Service Preference
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          CERTIFICATE OF COMPLIANCE PURSUANT TO F.R.A.P. 32(a)(7)

             I hereby certify that this brief complies with the type-volume limitations

       specified in Rule 32(a)(7) of F.R.A.P.

             According to the Word Processing System used, this Brief contains 8,596

       words and 812 lines of text.

                   In San Juan, Puerto Rico this 27th day of September, 2011.


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                               CERTIFICATE OF SERVICE

             I, Rafael F. Castro Lang, counsel for Appellant Antonio Ortiz-Aponte,

       hereby certify that I have served on this same date by hand delivery, two copies of

       the Appellant’s Brief, copy of Motion to Allow Addendum in Excess of 20 Pages,

       Motion to Exempt Filing of Appendix, and copy of this Certificate of Mail and

       Certificate of Compliance Pursuant to F.R.A.P. 32 (a)(7) to AUSA Nelson Perez

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